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IN THE UNITED sTATEs DISTRICT cOURT HML -f?ZF/m
FOR THE wESTERN DISTRICT OF TENNESSEE
wEsTERN DIvIsION DS&PRES PH u,j
UNITED STATES OF AMERICA, *

HOED?TH. Di`\C§O
CLEW< U.3 DE

Plaintiff, * WD. OFTN, MEMHMS
V. * CR. NO. 04-20384-D
HECTOR POLENDO, JR., *

Defendant. *

 

ORDER

 

It is hereby Ordered that this Motion to Continue the
Suppression Hearing/Report Date is hereby Granted and a new

suppression hearing/report date is set for the §Ey%g day Of

\\\\'ZM{\ , 200§_, at \O:OO -/Lpsm..

Thus Ordered this ¢5' day Of April, 2005 at Memphis,

Tennessee.

 

UNITED STATES DISTRICT COURT UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:04-CR-20384 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

